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     THE PERSONAL CARE PRODUCTS COUNCIL
14

15                           UNITED STATES DISTRICT COURT

16                         EASTERN DISTRICT OF CALIFORNIA

17

18   THE PERSONAL CARE PRODUCTS              No. 2:23-CV-01006-TLN-JDP
     COUNCIL,
19                                           PLAINTIFF’S NOTICE OF MOTION AND
                    Plaintiff,               MOTION FOR PRELIMINARY
20                                           INJUNCTION
           v.
21                                           Judge:          Hon. Troy L. Nunley
     ROB BONTA, IN HIS OFFICIAL              Date:           November 16, 2023
22   CAPACITY AS ATTORNEY GENERAL            Time:           2:00 p.m.
     OF THE STATE OF CALIFORNIA,             Room:           2 (15th Floor)
23                                           Action Filed:   May 26, 2023
                    Defendant.
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          PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that on Thursday, November 16, 2023, at 2:00 p.m., or as

 3   soon thereafter as counsel may be heard in Courtroom 2 of the above-titled Court, located in the

 4   United States Courthouse at 501 I Street, Sacramento, California 95814, before the Honorable

 5   Troy L. Nunley, Plaintiff The Personal Care Products Council (“PCPC”) will and hereby does

 6   move the Court to enter a prospective preliminary injunction, enjoining Defendant Attorney

 7   General and its officers, employees, or agents, and all those in privity or acting in concert with

 8   those entities or individuals (including private enforcers under § 25249.7(d) of California’s Safe

 9   Drinking Water and Toxic Enforcement Act of 1986—commonly known as “Proposition 65”)

10   from enforcing or threatening to enforce in the future the Proposition 65 warning requirement for

11   cancer with respect to titanium dioxide (airborne, unbound particles of respirable size) (“Listed

12   Titanium Dioxide”) in cosmetic and personal care products. Cal. Health & Safety Code

13   § 25249.6.

14          Specifically, PCPC respectfully requests that the Court enter a preliminary injunction

15   prohibiting such individuals and entities from filing and/or prosecuting new lawsuits to enforce

16   the Proposition 65 warning requirement for cancer as applied to Listed Titanium Dioxide in

17   cosmetic and personal care products.

18          As explained in detail in PCPC’s Memorandum of Points and Authorities, under

19   Proposition 65, California presumptively requires that persons in the course of doing business

20   provide a cancer warning for Listed Titanium Dioxide on their cosmetic and personal care

21   products sold in California. In particular, such businesses must state on their cosmetic and

22   personal care products that Listed Titanium Dioxide is “known to the State” to cause cancer, or

23   words to that effect, or else face the risk of an enforcement action by the Attorney General or any

24   number of public and private enforcers. The State of California, however, has never determined

25   that Listed Titanium Dioxide causes cancer in humans. Indeed, to PCPC’s knowledge, no

26   scientific or regulatory agency in the word has classified Listed Titanium Dioxide as a “known”

27   human carcinogen—rather, Listed Titanium Dioxide is listed under Proposition 65 because of one

28   entity’s finding that the chemical is only “possibly carcinogenic to humans.” An extensive body


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 1   of scientific evidence in humans (i.e., epidemiological and toxicological studies), meanwhile,

 2   demonstrates that Listed Titanium Dioxide is not associated with an increased risk of cancer in

 3   humans.

 4          As such, a compelled Proposition 65 warning for cancer as applied to Listed Titanium

 5   Dioxide in cosmetic and personal care products conveys the false—or, at a minimum, misleading

 6   and controversial—message that Listed Titanium Dioxide increases cancer risk in humans, in

 7   violation of PCPC’s members’ rights under the First Amendment to the United States

 8   Constitution. See, e.g., Zauderer v. Office of Disciplinary Counsel, 471 U.S. 626 (1985); Nat’l

 9   Ass’n of Wheat Growers v. Zeise, 309 F. Supp. 3d 842, 852 (E.D. Cal. 2018) (Shubb, J.) (granting

10   preliminary injunction against enforcement of Proposition 65 cancer warning requirement as to

11   the listed chemical glyphosate because “[i]t is inherently misleading for a warning to state that a

12   chemical is known to the state of California to cause cancer based on the finding of one

13   organization . . . when apparently all other regulatory and governmental bodies have found the

14   opposite.”); Cal. Chamber of Commerce v. Becerra, 529 F. Supp. 3d 1099, 1103 (E.D. Cal. 2021)

15   (Mueller, C.J.) (granting preliminary injunction against enforcement of Proposition 65 cancer

16   warning requirement as to the listed chemical acrylamide where “[t]he State has not shown that

17   the cancer warnings it requires are purely factual and uncontroversial.”), aff’d, Cal. Chamber of

18   Commerce v. Council for Educ. & Research on Toxics, 29 F.4th 468 (9th Cir. 2022).

19          PCPC’s members urgently need relief from this Court to prevent the State, or private

20   enforcers acting in the State’s interest, from infringing their First Amendment freedoms, the loss

21   of which “for even minimal periods of time, unquestionably constitutes irreparable injury.” Valle

22   Del Sol Inc. v. Whiting, 709 F.3d 808, 828 (9th Cir. 2013). In particular, PCPC’s members that

23   sell and produce cosmetic and personal care products containing titanium dioxide are faced with a

24   “Hobson’s choice”: either communicate to consumers a disparaging health warning about their

25   products that is unsupported by the science, or face the significant risk of an enforcement action

26   under Proposition 65 for failing to do so. Either option impermissibly infringes their First

27   Amendment rights. PCPC’s members also face ongoing reputational, competitive, and economic

28   harms for which they cannot be compensated.


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 1          In support of this Motion, Plaintiff relies on the accompanying Memorandum of Points

 2   and Authorities; the Declarations of Dr. Stephen Nowlis, Dr. Amy Madl, Dr. Paola Boffetta,

 3   Thomas F. Myers, and Trenton H. Norris, and the Exhibits attached thereto; such oral argument

 4   that may be properly presented at or before the time of the hearing; and upon any other matter the

 5   Court deems proper. Plaintiff anticipates that the hearing on this Motion will require one hour.

 6   Plaintiff does not anticipate calling live witnesses.

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 8   Dated: October 6, 2023                         Respectfully submitted,

 9                                                  By: /s/ Trenton H. Norris
                                                    Trenton H. Norris
10                                                  Attorneys for Plaintiff
                                                    Personal Care Products Council
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            PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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